            Case 1:18-cv-03074-CRC Document 89 Filed 07/20/22 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

YANPING CHEN,

                Plaintiff,

       v.

FEDERAL BUREAU OF INVESTIGATION,
U.S. DEPARTMENT OF JUSTICE,                          Case No. 1:18-cv-03074-CRC
U.S. DEPARTMENT OF DEFENSE, U.S.
DEPARTMENT OF HOMELAND
SECURITY,

                Defendants.


                                NOTICE OF APPEARANCE

       Please take note that Patrick F. Philbin hereby enters his appearance as counsel of record

for third party subpoena recipients Fox News Network, LLC and Catherine Herridge.



DATED: July 20, 2022                     ELLIS GEORGE CIPOLLONE
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                                         By:         /s/ Patrick F. Philbin
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                                         Counsel for Fox News Network, LLC and Catherine
                                         Herridge




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                                       Notice of Appearance
